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 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   LEXI NEGIN, Bar# 250376
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     DEANDRE LAMAR DOSTY
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )               CR. S-09-500-FCD
                                       )
12                   Plaintiff,        )               STIPULATION AND ORDER TO
                                       )               CONTINUE STATUS HEARING AND TO
13         v.                          )               EXCLUDE TIME PURSUANT TO THE
                                       )               SPEEDY TRIAL ACT
14   DEANDRE LAMAR DOSTY,              )
     RAE LEONARD YOUNG,                )               DATE:       December 13, 2010
15                                     )               TIME:       10:00 a.m.
                     Defendants.       )               JUDGE:      Frank C. Damrell, Jr.
16                                     )
     _________________________________ )
17
18         It is hereby stipulated and agreed to between the United States of America through Jason Hitt,
19   Assistant U.S. Attorney, and defendants, DEANDRE LAMAR DOSTY by and through his counsel, Lexi
20   Negin, Assistant Federal Defender, and RAE LEONARD YOUNG by and through his counsel, William
21   E. Bonham, that the status conference set for October 18, 2010, be continued to Monday, December 13,
22   2010, at 10:00 a.m.
23         The reason for this continuance is to allow defense counsel additional time to review discovery with
24   the defendants, to examine possible defenses, and to continue investigating the facts of the case.
25   ///
26   ///
27   ///
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 1       It is further stipulated that the time period from the date of this stipulation, October 15, 2010, through
 2   and including the date of the new status conference hearing, December 13, 2010, shall be excluded from
 3   computation of time within which the trial of this matter must be commenced under the Speedy Trial Act,
 4   pursuant to 18 U.S.C. §§ 3161 (h)(7)(A)&(B)(iv) and Local Code T4 [reasonable time for defense counsel
 5   to prepare].
 6
 7   DATED: October 15, 2010                             Respectfully submitted,
 8                                              DANIEL J. BRODERICK
                                                Federal Defender
 9
                                                /s/ Lexi Negin
10                                              LEXI NEGIN
                                                Assistant Federal Defender
11                                              Attorney for Defendant
                                                DEANDRE LAMAR DOSTY
12
13   DATED: October 15, 2010                    /s/ Lexi Negin for
                                                WILLIAM E. BONHAM
14                                              Attorney for Defendant
                                                RAE LEONARD YOUNG
15
16   DATED: October 15, 2010                           BENJAMIN B. WAGNER
                                                United States Attorney
17
                                                 /s/ Lexi Negin for
18                                              JASON HITT
                                                Assistant U.S. Attorney
19                                              Attorney for Plaintiff
20
21                                              ORDER
22       IT IS SO ORDERED. Time is excluded from today’s date through and including December 13,
23   2010, in the interests of justice pursuant to 18 U.S.C. §3161(h)(7)(A)&(B)(iv) and Local Code T4
24   [reasonable time for defense counsel to prepare].
25   DATED: October 15, 2010
26
27
                                                         FRANK C. DAMRELL, JR.
28                                                       UNITED STATES DISTRICT JUDGE


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